Case 3:17-cv-07636-MAS-LHG Document 107 Filed 08/08/18 Page 1 of 4 PagelD: 1616

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

THE BOEING COMPANY EMPLOYEE
RETIREMENT PLANS MASTER TRUST,
et al.,

Plaintiffs, Civil Action No. 17-cv-7636 (MAS) (LHG)
V.

VALEANT PHARMACEUTICALS
INTERNATIONAL, INC., et al.,

Defendants.

 

 

STIPULATION AND ORDER

WHEREAS, Plaintiffs in the above-captioned action (the “Action”) have filed a
Complaint (the “Complaint”) against Valeant Pharmaceuticals International, Inc., J. Michael
Pearson, Howard B. Schiller, Robert L. Rosiello, Tanya Carro, and PricewaterhouseCoopers
LLP (collectively, “Defendants,” and together with Plaintiffs. the “‘Parties”);

WHEREAS, this Action is one of twenty-eight opt-out actions pending in the District of
New Jersey related to the class action in Jn re Valeant Pharmaceuticals International, Inc.
Securities Litigation, Case No. 15-cv-7658 (the “Class Action”);

WHEREAS, on August 18, 2017 all Defendants filed Amended Answers in the Class
Action, see No. 15-cv-7658 (ECF Nos. 248-50, 253-54) (collectively, the “Class Action
Answers”):

WHEREAS, there is substantial factual overlap between the allegations in this Action
and the Class Action; .

WHEREAS, in view of the substantial factual overlap with the Class Action, the Parties

have agreed that it would be inefficient for Defendants to admit or deny every allegation in the
Case 3:17-cv-07636-MAS-LHG Document 107 Filed 08/08/18 Page 2 of 4 PagelD: 1617

Complaint pursuant to Fed. R. Civ. P. 8(b) at this time;

IT IS HEREBY STIPULATED AND AGREED, by the undersigned counsel on behalf of
the Parties, that:

(a) Defendants, to the extent all claims against a defendant have not been dismissed,
will file answers to the Complaint (the “Opt-Out Answers”) incorporating by reference the Class
Action Answers within 45 days of the Court’s ruling on the motions to dismiss;

(b) The Opt-Out Answers will (1) respond to allegations in paragraphs 77, 80-82,
89-90, 97-99, 128-37, 177-78, and 195-209, and Sections IIJ.A, IV, V.C.7, VI, VIII, [X, and XI
of the Complaint, as well as those portions of Section XII of the Complaint concerning causes of
action not raised in the Class Action; and (2) will identify any applicable affirmative defenses
not raised in the Class Action Answers;

(€) No allegations in the Complaint shall be deemed admitted pursuant to Fed. R. Civ.
P. 8(b)(6) unless admitted in the Opt-Out Answer or the Class Action Answers;

(d) Plaintiffs may subsequently request responses to specific paragraphs of the
Complaint containing factual allegations that they reasonably believe are not addressed by the
Opt-Out Answers and their incorporation of the Class Action Answers, and Defendants shall be
provided 45 days to file amended Opt-Out-Answers or seek relief from the Court.

Stipulated and agreed to by:

DATED: August 3, 2018

KASOWITZ BENSON TORRES LLP McCARTER & ENGLISH LLP
/s/ Stephen W. Tountas /s/ Richard Hernandez

Stephen W. Tountas Richard Hernandez

One Gateway Center 100 Mulberry Street

Suite 2600 Newark, NJ 07102

Newark, NJ 07102 Telephone: (973) 848-8615
Telephone: (973) 645-9462 Fax: (973) 297-6615

i)
Case 3:17-cv-07636-MAS-LHG

Fax: (973) 643-2030
Counsel for Plaintiffs
LABATON SUCHAROW LLP

/s/ Serena P. Hallowell
Serena P. Hallowell
Jonathan Gardner

Eric J. Belfi

Thomas W. Watson

140 Broadway

New York, NY 10005
Telephone: (212) 907-0700
Fax: (212) 818-0477

Counsel for Plaintiffs

Document 107 Filed 08/08/18 Page 3 of 4 PagelD: 1618

Local Counsel for Valeant Pharmaceuticals
International, Inc., Robert L. Rosiello,
and Tanya Carro

SIMPSON THACHER & BARTLETT
LLP

Paul C. Curnin

Craig S. Waldman

Daniel J. Stujenske

Dean McGee

425 Lexington Avenue

New York, NY 10017

Telephone: (212) 455-2000

Fax: (212) 455-2502

Counsel for Valeant Pharmaceuticals
International, Inc. and Robert L. Rosiello

COOLEY LLP

William J. Schwartz

Laura G. Birger

1114 Avenue of the Americas
New York, NY 10036
Telephone: (212) 479-6000
Fax: (212) 479-6275

Counsel for Tanya Carro

DEBEVOISE & PLIMPTON LLP

/s/ Holly S. Wintermute
Holly S. Wintermute

919 Third Avenue

New York, NY 10022
Telephone: (212) 909-6000
Fax: (212) 909-6836

Jonathan R. Tuttle

Ada. F. Johnson

801 Pennsylvania Avenue, NW
Washington, D.C. 20004
Telephone: (202) 383-8000
Fax: (202) 383-8118

Counsel for J. Michael Pearson
Case 3:17-cv-07636-MAS-LHG Document 107 Filed 08/08/18 Page 4 of 4 PagelD: 1619

WINSTON & STRAWN LLP

/s/ James S. Richter

James 8. Richter

Melissa Steedle Bogad

200 Park Avenue

New York, NY 10166-4193
Telephone: (212) 294-6700
Fax: (212) 294-4700

Counsel for Howard B. Schiller

 
